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          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                       DISTRICT OF PENNSYLVANIA


 BENITA DIXON, individually and on                       Civil Action No. 24-1057-KSM
 behalf of others similarly situated,

                        Plaintiff,                             DECLARATION OF
 v.                                                           REGARDING NOTICE
                                                               ADMINISTRATION
 LINCOLN UNIVERSITY,

                        Defendant.



          1.    My name is Melissa Baldwin, and I am over the age of eighteen (18) years. I

make this declaration under the penalty of perjury, free and voluntarily, under no coercion, threat,

or intimidation, and without promise of benefit or reward, based on my own personal

knowledge. If called to testify, I could and would testify consistent with the matters stated

herein.

          2.    I am a Director of Claims Administration for RG/2 Claims Administration LLC

(“RG/2 Claims”), whose address is 30 South 17th Street, Philadelphia, PA 19103. RG/2 Claims

is the independent third-party settlement administrator seeking to be appointed by the Court as

Claims Administrator to handle various settlement administration activities in the above-

referenced matter, including, but not limited to, mailing of settlement notification packages to

Class Members, Election Form collection and review, claimant correspondence, and

distribution.

          3.    RG/2 is a full-service class action settlement administrator offering notice, claims

processing, allocation, distribution, tax reporting, and class action settlement consulting

services. RG/2 Claims’ experience includes the provision of notice and administration services
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for settlements arising from antitrust, data security breach, consumer, civil rights, employment,

negligent disclosure, and securities fraud allegations. Since 2000, RG/2 Claims has administered

and distributed in excess of $2 billion in class action settlement proceeds. A profile of RG/2’s

background and capabilities are attached hereto as Exhibit A.

       4.      In consultation with Class Counsel, I prepared a proposed notice and

administration plan for this litigation. This Declaration will describe the proposed notice plan

(“Notice Plan”) and how it will meet the requirements of Rule 23 of the Federal Rules of Civil

Procedure (“Rule 23”) and provide due process to the Potential Settlement Class Members. This

Declaration is based upon my personal knowledge and upon information provided to me by Class

Counsel, my associates, and RG/2 Claims staff members.

       5.      I have personal knowledge of the matters set forth in this declaration and, if called

as a witness, could and would testify competently thereto.

       6.      The objective of the suggested Notice program is to provide the best notice

practicable—Rule 23-compliant notice—to those members of the Class.

       7.      Within 10 days of Class Counsel filing for Preliminary Approval, RG/2 Claims

will provide notice to relevant state and federal attorneys general in compliance with the Class

Action Fairness Act.

       8.      RG/2 Claims proposes a notice program with the following elements:

              a. Direct notice via email (where available) or U.S. Mail (where email is not

                  available) to the class members identified from Defendant’s records, consisting

                  of all Lincoln University students enrolled in the Spring 2020 Semester for at

                  least one in-person class who did not withdraw by March 12, 2020 for whom

                  any amount of tuition or fees was paid to Lincoln from any source other than a

                  scholarship, grant, or tuition remission from Lincoln, and whose tuition and/or

                  fees have not been fully refunded (the “Class”).



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              b. The Notice and other important court documents relevant to the Class Notice

                  and the litigation in general will be made available on a case specific website

                  designated for this action. The website will provide, in downloadable format, the

                  following: (i) the Long-Form Notice; (ii) the Election Form (iii) the Preliminary

                  Approval Order; (iv) the Settlement Agreement (including all exhibits); (v) a

                  question and answer section agreed to in good faith by the Parties to anticipate

                  and answer Settlement related questions from Potential Settlement Class

                  Members; (vi) contact information for the Settlement Administrator, including

                  the toll-free number, as well as for Class Counsel; (vii) all preliminary and final

                  approval motions filed by the Parties, and any orders ruling on such motions.

                  Additionally, RG/2 Claims will maintain a toll-free number to answer and

                  address any class member inquiries. The toll-free telephone number will appear

                  in the Short-Form and Long-Form Notices.

       9.      The proposed notice plan provides the best practicable method to reach the

potential class members and is consistent with other class action notice plans that have been

approved by various federal courts for similarly situated matters.

       10.     All undeliverable mail will be sorted and scanned. For returned notices without

a forwarding address, RG/2 Claims will use Accurint (a division of Lexis-Nexis) to perform a

basic “skip trace” search in order to retrieve the most accurate and updated information. The

database will be updated with any new address found and the Notice will be re-mailed to the

updated addresses.

       11.     RG/2 Claims believes the notice program described above is suitable for this case
and is comparable to plans other federal courts have approved for similar cases. RG/2 Claims
also believes that the Notice is drafted in the “plain language” format preferred by federal courts
and provides the information required by Rule 23. RG/2 Claims believes that the Notice is




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understandable   for   members   of   the   Class   and   complies   with   due   process.


       I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE
       UNITED STATES THAT TO THE BEST OF MY KNOWLEDGE THE FOREGOING
       IS TRUE AND CORRECT.


Executed on March 25, 2025 at Philadelphia, PA




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                         EXHIBIT A
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SETTING A NEW STANDARD IN
CLASS ACTION CLAIMS ADMINISTRATION

  PHILADELPHIA   • NEW YORK • ATLANTA • SAN DIEGO • SAN FRANCISCO
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     Class Action Experience
     High-Quality Service at Competitive Rates

     RG/2 Claims seasoned professionals utilize their vast class action
     experience, tax and financial management resources to deliver
     high-quality service at competitive rates.




     RG/2 Claims is a boutique class action claims administration firm with a nationwide presence founded
     by seasoned class action practitioners and highly credentialed tax professionals. Our leadership team
     has a collective 100 years’ experience working in the field of class action litigation and settlement
     administration to leverage for the benefit of counsel. Our team of driven class action attorneys,
     highly credentialed CPAs and forensic accountants approach each matter
     with a personal goal to shepherd the settlement through the process from settlement negotiations
     through final approval. Our personal attention and care ensures that the administration is handled in a
     seamless matter that allows counsel to proceed with the knowledge and confidence that their settlement
     will receive the attention and care that they demand. In addition, our operations and IT personnel bring
     individualized innovations to each engagement, driving the notice and settlement administration to
     conclusion. We have the experience to handle large settlements with the personal attention and care
     expected from a boutique firm.

     RG/2 Claims recognizes that cutting-edge technology is the key to efficient and reliable claim processing.
     Our IT Group, including an experienced web design team, enables RG/2 Claims to employ technologies
     used to enhance accuracy, efficiency and interaction of all participants in the claims process. Our
     approach focuses on analysis of case needs, development of solutions to maximize resources and reduce
     costs through accurate and efficient data collection and entry, and ongoing maintenance and support.
     Throughout the entire claims process, our goal is to (1) optimize completeness, accuracy and efficiency
     of the data management system, including online integration; (2) validate critical fields and data; and
     (3) track opt-outs and claimant responses. RG/2 Claims’ proprietary database application provides a
     single source for managing the entire claims administration process
     and expediting decision making and resource management. From the
     initial mailing through distribution of settlement funds and reconciliation of distributed payments, RG/2
     Claims’ CLEVerPay® system centralizes data, facilitating information sharing and efficient communication.




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 Cutting-Edge Technology and Skilled Resources

 The CLEVerPay® System: A proprietary and revolutionary
 application developed exclusively by RG/2 Claims.


 At RG/2 Claims, we developed a proprietary and customizable database with the goal of providing
 single-source management throughout the claims administration process, expediting decision
 making and resource management.

 From the initial mailing through distribution of settlement funds and reconciliation of payments,
 RG/2 Claims’ CLEVerPay® system centralizes the entire process while providing information sharing
 and communications solutions.

 Our CLEVerPay® system is a robust and user-friendly resource that can be easily customized to meet
 your administration and distribution needs. We recognize how essential it is for data to be clean,
 centralized and readily accessible. RG/2 Claims’ CLEVerPay® system has the capacity to assimilate
 and analyze large amounts of raw data from multiple inputs, to convert that raw data into useful
 information and to distribute the useful information in a variety of formats.

 The integration of these elements results in timely and accurate distribution of secure payments
 generated from RG/2 Claims’ single-source CLEVerPay® system.

 For more information, please visit our website to download our CLEVerPay® System Datasheet at:
 http://www.rg2claims.com/pdf/cleverPayDatasheet.pdf.




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     Experienced Professionals
     Always There When You Need Us

     RG/2 Claims principals have hands-on experience in both class action
     practice and settlement administration. Our combined access to
     resources and institutions allows us to deliver superior value-added
     service in all aspects of settlement administration.




                    GRANT RAWDIN, Esq., CFP®, CEO and co-founder, is an attorney, an accountant and a
                    Certified Financial Planner™ practitioner. Worth magazine named him one of the “Best
                    Financial Advisors in America.” Mr. Rawdin’s professional background includes more than 25
                    years of legal and accounting experience focused in tax, business, investment analysis, legal
                    claims and class action settlement administration. Mr. Rawdin has a juris doctor degree from
                    Temple University Beasley School of Law and a B.A. in English from Temple University, and he
                    is admitted to practice law in Pennsylvania and New Jersey.
                    rawdin@rg2claims.com



                    MICHAEL A. GILLEN, CPA, CFE, CFF, President and co-founder, has more than 25 years of
                    experience in many facets of litigation consulting services, with particular emphasis on
                    criminal and civil controversies, damage measurement, fraud and embezzlement detection,
                    forensic and investigative accounting, legal claims and class action settlement administration
                    and taxation. He assists numerous attorneys and law firms in a variety of litigation matters. Mr.
                    Gillen graduated from La Salle University with a B.S. in Accounting.
                    mikegillen@rg2claims.com



                    MICHAEL J. LEE, CFA, COO, the chief architect of our proprietary CLEVerPay® system is a
                    Chartered Financial Analyst with extensive experience in litigation consulting services, including
                    damage assessment, measurement, evaluation, legal claims and class action settlement
                    administration. Additionally, Mr. Lee has about a decade of experience in the financial services
                    industry, with particular emphasis on securities valuation, securities research and analysis,
                    investment management policies and procedures, compliance investigations and portfolio
                    management in global equity markets. Mr. Lee has a B.S. in Business Administration with a
                    dual major in Finance and Management from La Salle University and an M.B.A. in Finance from
                    the NYU Stern School of Business.
                    mlee@rg2claims.com




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         MELISSA BALDWIN, Director of Claims Administration—Employment and Consumer,
         has over 18 years of experience in the administration of class action matters, with focuses
         on project management, client communication, notice coordination, claims processing and
         auditing, and distribution in the class action practice areas of antitrust, consumer and labor
         and employment. As Notice and Correspondence Coordinator, Ms. Baldwin assisted in the
         administration of an antitrust matter involving nine defendant banks, which included over 47
         million class members and the subsequent distribution of the $330 million Settlement Fund to
         the valid class members. Ms. Baldwin has a B.S. in Business Administration from Drexel University.
         mbaldwin@rg2claims.com


         TINA M. CHIANGO, Director of Claims Administration—Securities and Antitrust, has over 20
         years of experience in the administration of class action matters. Ms. Chiango focuses on project
         management; this includes establishing procedures and case workflow, client communications, notice
         coordination, overseeing the processing and auditing of claims, distribution to the class and preparing
         reports and filings for the court. Over the last 20 years, Ms. Chiango has worked on a broad spectrum
         of class action settlements including securities, antitrust, consumer and mass tort, among others.
         Ms. Chiango has a B.S. in Business Administration with a major in Accounting from Drexel University.
         tchiango@rg2claims.com


         WILLIAM W. WICKERSHAM, Esq., Senior Vice President, Business Development and Client
         Relations, focuses his practice on assisting clients in navigation of the claims administration
         process from pre-settlement consultation through disbursement in all class action practice areas,
         including, but not limited to, antitrust, consumer, labor and employment, and securities. As a
         seasoned director of client relations, he advises counsel on settlement administration plans and
         manages many large and complex class action settlements. Mr. Wickersham has also appeared
         in federal court on several occasions to successfully support counsel in the settlement approval
         process including complex securities, environmental and wage and hour matters. As a former
         securities class action attorney, he brings over a decade’s worth of experience in the class action
         bar as a litigator and as a claims administrator. As a litigator, Mr. Wickersham was involved in
         several high profile litigations which resulted in recoveries for investors totaling over $2.5 billion.
         Mr. Wickersham has a juris doctor degree from Fordham University School of Law, a B.A. from
         Skidmore College and is admitted to practice law in New York.
         wwwickersham@rg2claims.com


         CHRISTOPHER J. TUCCI, Esq., Vice President, Business Development and Client Relations, focuses
         on guiding clients through the class action claims administration process from pre-settlement
         consultation to innovative notice campaigns, to quality and cost-effective administration, to the
         ultimate distribution of funds. He advises clients on the administrative solutions for consumer,
         employment, securities, and antitrust class action. Mr. Tucci is recognized as an expert in the
         financial services legal community and is a sought after national speaker on litigation management,
         financial services laws, data security breaches, corporate investigations, and in-house counsel best
         practices. As a former senior in-house litigator for nearly two decades, he has extensive experience
         managing litigation for global financial services corporations, including dozens of securities, wage
         & hour, and consumer class actions matters. Mr. Tucci brings a unique perspective to class action
         matters with his deep practical experience in the management of litigation including selecting and
         managing outside counsel, handling internal investigations, communicating with state and federal
         regulators, and managing litigation from inception through settlement or dismissal. Mr. Tucci has a
         juris doctor degree from Widener University School of Law, a B.A. from the University of Delaware,
         and is admitted to practice in Pennsylvania and New Jersey.
         ctucci@rg2claims.com
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     Locations




     PHILADELPHIA
     30 South 17th Street • Philadelphia, PA 19103-4196
     P 215.979.1620 • F 215.979.1695

     NEW YORK
     1540 Broadway • New York, NY 10036-4086
     P 212.471.4777 • F 212.692.1020

     ATLANTA
     1075 Peachtree Street NE, Suite 2000 • Atlanta, GA 30309-3929
     P 404.253.6904 • F 404.253.6905

     SAN DIEGO
     750 B Street, Suite 2900 • San Diego, CA 92101-4681

     SAN FRANCISCO
     Spear Tower • One Market Plaza, Suite 2200 • San Francisco, CA 94105-1127
     P 415.957.3011 • F 415.957.3090



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 Full Life-Cycle Support for Your Class Action
 With You Every Step of the Way

 Whether engaged as a court-appointed settlement administrator,
 claims agent or disbursing agent, RG/2 Claims offers a complete
 range of claims, settlement administration and investment
 management services, including but not limited to:




 PROFESSIONAL CASE MANAGEMENT CONSULTING
 RG/2 Claims provides custom pre-settlement consultation and highly personalized attention
 throughout the life cycle of settlement administration. Each retention begins with an in-depth
 consultation concerning the specific needs of the case. Our professionals routinely and proactively
 identify administrative concerns and identify and propose solutions that avoid delay and remove
 unpredictability from the equation. We work through a coordinated approach involving a core of
 specialists that are intimately familiar with the case entrusted to our care. Our retentions result in
 effective and efficient solutions and greater peace of mind for busy lawyers.

 NOTIFICATION PLANNING AND CAMPAIGNS
 Whether routine or innovative, RG/2 Claims designs cost-effective and thorough notification plans
 that will suit your budget whether the settlement is national in scope or highly localized. RG/2
 Claims guides you through the array of notice publication options at your disposal in a variety of
 media formats.

 WEBSITE DESIGN
 RG/2 Claims can assist in the design and hosting of a website specific to the client’s needs to
 allow for document posting, as well as pertinent information and deadlines about the case. RG/2
 Claims can also provide various options for claims filing, which includes an online portal that allows
 claimants to submit their claims and supporting documentation through the website.

 CLAIMS PROCESSING
 RG/2 Claims utilizes a proprietary and customizable database that provides a single-source
 management tool throughout the claims administration process, expediting decision making and
 resource management. RG/2 Claims’ proprietary and sophisticated CLEVerPay® system centralizes
 the entire process while providing information sharing and communications solutions, from the
 initial mailing through distribution of settlement funds and reconciliation of payments.

 DISTRIBUTION AND TAX SERVICES
 RG/2 Claims’ in-house tax, accounting and financial services professionals provide disbursement
 services, including management of checking, sweep, escrow and related cash accounts, as well
 as non-cash assets, such as credits, gift cards, warrants and stock certificates. RG/2 Claims’ in-
 house CPAs provide a broad array of accounting services, including securing private letter
 rulings from the IRS regarding the tax reporting consequences of settlement payments, the
 preparation of settlement fund tax returns and the preparation and issuance of IRS Forms 1099
 and W-2.

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      Range of Services
      Offering Unparalleled Value

      RG/2 offers a range of quality value-added services
      for your class action administration.




      SECURITIES
      RG/2 Claims’ highly experienced team uses its various resources to locate beneficial holders of securities, including
      working with the Depository Trust Company and a proprietary list of nominee firms to identify and mail notices to the
      class. With RG/2 Claims’ CLEVerPay system, claims are processed efficiently and accurately using our proprietary damage
      grid that calculates class member damages in accordance with a broad array of complex plans of allocation. Claims are
      automatically flagged through a validation process so RG/2 Claims can communicate with class members concerning
      their claims and can assist them in filing claims that are complete and properly documented. Once ready for distribution,
      RG/2 Claims conducts an audit of the claims to insure against calculation errors and possible fraudulent claims. Once the
      audit is completed, RG/2 Claims calculates distribution amounts for eligible class members in accordance with the plan
      of allocation and issues checks and any applicable tax documents. RG/2 Claims is also often called upon to act as the
      Escrow Agent for the Settlement Fund, investing the funds and filing all required tax returns.
      ANTITRUST
      Because of the high-dollar settlements involved in most antitrust cases and potential large recoveries on behalf of class
      members, RG/2 Claims understands the importance of accuracy and attention to detail for these cases. RG/2 Claims
      works with counsel to arrive at the best possible plan to provide notice to the class. With RG/2 Claims’ CLEVerPay system,
      claims filed with a large volume of data, which is common in an antitrust case, can be quickly and easily uploaded into
      our database for proper auditing. Our highly-trained staff consults with counsel to apply an audit plan to process claims
      in an efficient manner while ensuring that all claims meet class guidelines. Once ready for distribution, RG/2 Claims
      calculates check amounts for eligible class members in accordance with the plan of allocation and will issue checks
      (including wire transfers for large distributions) as well as any necessary tax documents. RG/2 Claims is also available to
      act as the Escrow Agent for the Settlement Fund, investing the funds and filing all required tax returns.
      EMPLOYMENT
      With an experienced team of attorneys, CPAs, damage experts and settlement administrators, RG/2 Claims handles
      all aspects of complex employment settlements, including collective actions, FLSA, gender discrimination, wage-and-
      hour and, in particular, California state court class and PAGA settlements. RG/2 Claims utilizes technological solutions
      to securely receive and store class data, parse data for applicable employment information, personalize consents forms
      or claim forms, collect consents or claims electronically, calculate settlement amounts and make payments through
      our proprietary CLEVerPay system. Our proprietary database also allows for up-to-the-minute statistical reporting for
      returned mail, consents or claims received and exclusions submitted. Our CPAs concentrate on withholding and payroll
      issues and IRC section 468(B) compliance and reporting. Customizable case-specific websites allow for online notification
      and claims filing capabilities. With Spanish/English bilingual call center representatives on-staff, class members are
      provided immediate attention to their needs.
      CONSUMER
      RG/2 Claims handles a wide range of complex consumer matters with notice dissemination to millions of class members and
      with settlements involving cash, coupons, credits and gift cards. Our experienced claims administrators are available to provide
      guidance on media, notice and distribution plans that are compliant with the Class Action Fairness Act and the state federal
      rules governing notice, and that are most beneficial to the class. Our proprietary CLEVerPay system provides a secure and
      efficient way to track class member data, claims and payments. Integrated with our database, we can provide a user-friendly
      claims filing portal that will allow class members to complete a static claim form or log-in using user-specific credentials to view
      and submit a claim personalized just for that user. A similar online portal can be provided as a highly cost-effective method for
10    distribution where the class member can log in to obtain coupons, vouchers or credits as their settlement award.
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Effective administration requires proactive planning and precise execution. Before we undertake any matter, we work with you
to develop a specific plan for the administration of your case. The service plan is comprehensive, complete and tailored to your
specific needs.

RG/2 CLAIMS PROVIDES THE SERVICES SUMMARIZED BELOW:
•      Technical consultation during formulation of settlement agreement, including data collection criteria and tax consequences
•      Design and development of notice and administration plan, including claim form design and layout
•      Claim form and notice printing and mailing services
•      Dedicated claimant email address with monitoring and reply service
•      Calculation and allocation of class member payments
•      Claim form follow-up, including issuing notices to deficient and rejected claims
•      Mail forwarding
•      Claimant locator services
•      Live phone support for claimant inquiries and requests
•      Claim form processing
•      Claim form review and audit
•      Check printing and issuance
•     Design and hosting of website access portals
 •    Online claim receipt confirmation portal
  •    Ongoing technical consultation throughout the life cycle of the case
  •   Check and claim form replacement upon request

WE ALSO PROVIDE THE FOLLOWING OPTIONAL SERVICES:
•      Periodic status reporting
•      Customized rapid reporting on demand
•      Issue reminder postcards
•      Consultation on damage analyses, calculation and valuation
•      Interpretation of raw data to conform to plan of allocation
•      Issue claim receipt notification postcards
•      Online portal to provide claims forms, status and contact information
•      Dedicated toll-free claimant assistance line
•      Evaluation and determination of claimant disputes
•      Opt-out/Objection processing
•      Notice translation
•      Integrated notice campaigns, including broadcast, print and e-campaigns
•      Pre-paid claim return mail envelope service
•      Web-based claim filing
•      24/7 call center support
•      Damage measurement and development of an equitable plan of allocation

WE ALSO PROVIDE CALCULATION AND WITHHOLDING OF ALL REQUIRED FEDERAL
AND STATE TAX PAYMENTS, INCLUDING:
•      Individual class member payments
•      Qualified Settlement Fund (QSF) tax filings
•      Employment tax filings and remittance
•      Generation and issuance of W-2s and 1099s
•      Integrated reporting and remittance services, as well as client-friendly data reports for self-filing



       Don’t see the service you are looking for?
       Ask us. We will make it happen.


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                                             FOR MORE INFORMATION, PLEASE CONTACT:
                                             CHRISTOPHER J. TUCCI, Esq.
                                             Vice President
                                             Business Development and Client Relations
                                             Phone: 215.979.1671
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                                             WWW.RG2CLAIMS.COM




BOUTIQUE ADMINISTRATOR WITH
WORLD-CLASS CAPABILITIES

  PHILADELPHIA •• NEW
 PHILADELPHIA     SAN YORK • ATLANTA
                      FRANCISCO  • NEW
                                     • SAN
                                        YORK  • •ATLANTA
                                           DIEGO          • DOVER
                                                  SAN FRANCISCO
